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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF KENTUCKY
                                   LOUISVILLE DIVISION



    UNITED STATES OF AMERICA,
                                                      Case No. 3:24-CV-00722-BJB
                              Plaintiff

    v.                                                Electronically filed


    LOUISVILLE/JEFFERSON COUNTY
    METRO GOVERNMENT,

                              Defendant


    MOTION BY ACLU OF KENTUCKY AND 14 OTHER LOUISVILLE COMMUNITY
    ORGANIZATIONS FOR LEAVE TO FILE AMICUS CURIAE BRIEF SUPPORTING
          ENTRY OF THE PARTIES’ NEGOTIATED CONSENT DECREE

         Pursuant to this Court’s December 28, 2024 Order (DN 18), amici curiae – the ACLU of

Kentucky and 14 other Louisville community organizations (collectively, amici) – respectfully

seek leave to file the accompanying Brief of Amicus Curiae In Support of Parties’ Motion for

Consent Decree, attached as Exhibit 1, in the above-styled action.1 In support of its motion, the

amici submit the following:

                     STATEMENTS OF INTEREST AND EXPERTISE

         The amici are fifteen organizations located in (or whose work includes) Louisville,

Kentucky. As described below, all have been working towards improving police practices and/or

for greater transparency from Metro Louisville, and now wish to express their support for entry of

the parties’ negotiated Consent Decree.


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       Undersigned contacted the parties regarding this motion. Plaintiff and Defendant both have
no objection to the filing of the brief.
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                                        ACLU of Kentucky

       The ACLU of Kentucky is a statewide, Kentucky-nonprofit affiliate of a national civil

rights organization that is dedicated to the promotion and defense of individuals’ civil rights and

civil liberties, and whose office is located in Louisville, Kentucky. As part of its mission, the

ACLU of Kentucky advocates for improved police practices and criminal legal reform. Moreover,

courts have frequently permitted the ACLU of Kentucky to file amicus curiae briefs in civil rights

cases. See, e.g., Arkk Properties, LLC, et al. v. Cameron, et al., 2023 WL 5170496 (Ky. 2023);

Chelsey Nelson Photography, LLC v. Louisville/Jefferson Cty. Metro Govt., Case. No. 19-cv-851,

Doc. # 34 (W.D. Ky. Feb. 19, 2020); Champion v. Commonwealth, 2016 WL 4973367 (Ky. 2016).

                                         The 490 Project

       The 490 Project is a Louisville based organization whose mission includes calling upon

Louisville Metro and LMPD to reimagine public safety that invests in community care. As part of

that mission, the 490 Project seeks greater accountability and transparency from Louisville Metro

and LMPD, and with increased input from the community. The 490 Project has engaged with our

Metro Government around many of the issues in the Complaint and Consent Decree seeking

greater transparency and accountability in policing, record management, budget process, citizen

concerns and other issues for a safer and more inclusive Louisville

                                         DOVE Delegates

       Diverse Options: Voice & Empowerment (DOVE) is a Louisville-based organization born

directly out of the calls for justice for Breonna Taylor and was part of the team that developed the

City of Louisville’s Crisis Call Diversion program. DOVE has advocated for a comprehensive

mental health crisis alternative based on the need and concerns highlighed by community. DOVE’s



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mission is to collaborate with community members and service providers to create new systems of

authentic   care,   justice,   reparation,    and   accountability. DOVE    strives   to lead   with

healing, reimagine and redefine mental health support, build community capacity through support

and education, and move toward justice.

                                        Fairness Campaign

        The Fairness Campaign, based in Louisville, is Kentucky’s LGBTQ civil rights advocacy

organization. The Fairness Campaign seeks to dismantle oppression and build an inclusive

community where all individuals are valued and empowered to reach their full potential. We

believe full transparency and transformation of the LMPD is essential to the health and well-being

of marginalized communities within Louisville Metro.

                                             Families United

        Families United is a Louisville-based community organization dedicated to advocating for

justice and accountability in policing, with a focus on supporting families directly impacted by

police violence. We work closely with affected communities to elevate their voices, ensure

systemic change, and promote equitable public safety practices. We work toward rebuilding trust

between law enforcement and the community, improving transparency, and preventing further

harm.

                                  Forward Justice Action Network

        Forward Justice Action Network (FJAN) is a 501(c)(4) organization that engages in

educational and advocacy activities to promote political and grassroots support for laws and public

policies that advance racial, social, and economic justice in the U.S. South. Alongside our partners

and constituents in Louisville, FJAN has been deeply involved in Consent Decree process and a

leading participant in facilitating engagement in community listening sessions and community



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forums with the US Department of Justice and other stakeholders to determine community harm

and need in the LMPD public consent decree resolution. As parties to this amicus brief, Forward

Justice Action Network brings to bear a history of deep engagement in seeking racial and economic

justice in Louisville, Kentucky and expertise in reducing harm to particularly Black and Brown

communities from excessive and unconstitutional policing practices.

                            Interfaith Coalition for Immigrant Justice

       The Interfaith Coalition for Immigrant Justice is a Louisville coalition of individuals, faith

leaders and diverse faith communities called by our conscience and by our context to respond

actively and publicly to the suffering of immigrants in our community.

                    Kentucky Alliance Against Racist and Political Repression

       The Kentucky Alliance Against Racist and Political Repression has been working for

police reform in Louisville for many years. The Breonna Taylor case is just one of many negative

police incidents that have created a community demand for police reform.

                                  Kentucky Equal Justice Center

       The Kentucky Equal Justice Center's mission is to ensure Kentuckians have access to

justice. We serve Kentuckians in poverty and other vulnerable populations through legal

representation and advocacy: in courtrooms, in the Capitol, and in the community. Transparency

and accountability for those in power are vital to the equal application of justice. This consent

decree is an important step toward ensuring that those charged with serving and protecting do so

in a manner that respects civil rights and allows all Kentuckians access to the justice they deserve.

                              Kentucky Open Government Coalition

       The Coalition is a Kentucky nonpartisan, nonprofit corporation founded in 2019. The

Coalition engages in education and outreach aimed at promoting broader public understanding and



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use of Kentucky's open records laws; offers training for the public and public officials designed to

foster both compliance with, and appreciation for, the value of, open records laws; assists citizens

and the news media in challenging improper agency action under the laws; and monitors and

reports on judicial, legislative and administrative developments in the laws as a means of furthering

the goal of open government. Given its demonstrated commitment to, and efforts on behalf of,

government transparency and accountability, the Coalition has an immediate and direct interest in

ensuring that, where appropriate, instruments executed by federal and state authorities that are

aimed at securing public agency transparency and accountability, like the Consent Decree, are

supported by, and consistent with, Kentucky's open government laws.

                                     Louisville Urban League

       The Louisville Urban League is a nonprofit, nonpartisan, community service organization

dedicated to eliminating racism and its adverse impacts on the community. The League's mission

is to assist Black people and other marginalized populations in attaining social and economic

equality through direct services and advocacy. As part of a broader National Urban League

network of historic civil rights organizations throughout the United States, the Louisville Urban

League, like all affiliates, is dedicated to fostering economic empowerment to elevate the standard

of living in historically underserved urban communities, with our focus on Jobs, Justice,

Education, Health, Housing, and Black Business.

                                       The Salaam Network

       The Salaam Network (TSN) is an educational network, based in Louisville, which aims at

creating harmony and wholeness in the face of divisions such as Islamophobia and other forms of

discrimination including racism, sexism, classism, and exclusivism on grounds of religion,

ethnicity, culture and political affiliation. TSN works toward making Louisville free of disunity,



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division, and discrimination, so that it can experience safety, a sense of well-being, positive energy,

and peace of heart, mind, and spirit.

                        The Sister Thea Bowman Society, Louisville Chapter

          The Sister Thea Bowman Society, Louisville Chapter, works towards racial solidarity to

bring God’s reign amongst all peoples.

                                             VOCAL-KY

          Voices of Community Activist and Leaders-Kentucky (VOCAL-KY) is a membership-led

nonprofit focused on ending the failed drug war, homelessness, HIV/AIDS, and mass

incarceration. We do this through leadership development, being BIPOC led while working with

our community partners on winnable demands and policies that save and improve lives in

Louisville and Kentucky.

                                            ARGUMENT

          Whether (or not) to allow the filing of an amicus curiae brief is within a court’s “sound

discretion . . . upon a finding that the proffered information of amicus is timely, useful, or otherwise

necessary to the administration of justice.” United States v. Michigan, 940 F.2d 143, 165 (6th Cir.

1991) (cleaned up). “In determining whether to grant leave to file amicus briefing, courts consider

several factors, including adequate representation, cognizable direct interest in the outcome, and

whether the proposed amici addresses matters or advances arguments different from those raised

by the parties.” Moore v. Humana, Inc., 2022 WL 20766503, at *2 (W.D. Ky. Mar. 31, 2022),

reconsideration denied, 2022 WL 20766504 (W.D. Ky. Dec. 2, 2022) (citing Nat’l Air Traffic

Controllers Ass’n, MEBA, AFL-CIO v. Mineta, 2005 WL 8169395, at *1 (N.D. Ohio June 24,

2005)).




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       Here, the parties’ pending motion to enter the consent decree presents an important issue

regarding critical and necessary changes to how LMPD operates, and the resolution of that motion

will directly impact the organizations and the communities they support. Amici have been engaged

in these issues for years, and their perspective would aid the Court in its consideration of the

Parties’ Motion. And finally, this motion for leave to file an amicus brief is timely submitted, as

set by this Court’s December 28, 2024 Order (DN 18).

       WHEREFORE, for the foregoing reasons, this Court should grant the instant motion for

leave to file an amicus curiae brief in support of the parties’ Motion for Consent Decree, and order

that the tendered amicus brief be filed in this action.

       Further, counsel for amici requests permission to address specific issues that may arise at

the hearing on January 13, 2025, if necessary.



                                               Respectfully submitted,

                                               /s Corey M. Shapiro
                                               Corey M. Shapiro
                                               William E. Sharp
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                               CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Motion was filed electronically on January
 10, 2025 via the Court’s CM/ECF system, which will send electronic notice to counsel of record:



                                                   /s Corey M. Shapiro
                                                   Corey M. Shapiro
                                                   ACLU OF KENTUCKY FOUNDATION




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